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 8
     (Additional Counsel Listed on Signature Page)
 9
                                 UNITED STATES DISTRICT COURT
10
                             NORTHERN DISTRICT OF CALIFORNIA
11
                                         SAN JOSE DIVISION
12

13   ROCHE MOLECULAR SYSTEMS, INC.
     and ROCHE SEQUENCING SOLUTIONS,
14   INC.,                                            Case No. 5:24-cv-03972-EKL
15                 Plaintiffs,                        (lead case)
                                                      ORDER GRANTING
16          vs.                                       JOINT STIPULATION REGARDING
17                                                    CERTAIN PROPOSED EXPERTS
     FORESIGHT DIAGNOSTICS INC., et al.,
18                 Defendants.
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                                                                     CERTAIN PROPOSED EXPERTS
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 1          WHEREAS on January 7, 2025, pursuant to paragraph 7.4(a)(2) of the Protective Order

 2   (Dkt. 111), Defendant Foresight Diagnostics Inc. (“Foresight”) identified Dr. Paul Spellman as an

 3   Expert to whom it intended to provide information designated “Highly Confidential-Trade Secret,”

 4   “Highly Confidential-Attorneys’ Eyes Only,” or “Highly Confidential-Source Code” pursuant to

 5   paragraph 7.3.1(c), 7.3.2(c), or 7.3.3(b) of the Protective Order, and pursuant to paragraph

 6   7.4(a)(2) of the Protective Order, on January 13, 2025, Plaintiffs Roche Molecular Systems, Inc.

 7   and Roche Sequencing Solutions, Inc., (“Plaintiffs”) objected to such disclosure to Dr. Paul

 8   Spellman.

 9          WHEREAS on April 4, 2025, pursuant to paragraph 7.4(a)(2) of the Protective Order (Dkt.

10   111), Plaintiffs identified Ms. Julie Knox and Dr. Jeremy Edwards as Experts to whom Plaintiffs

11   intended to provide information designated “Highly Confidential-Trade Secret,” “Highly

12   Confidential-Attorneys’ Eyes Only,” or “Highly Confidential-Source Code” pursuant to paragraph

13   7.3.1(c), 7.3.2(c), or 7.3.3(b) of the Protective Order, and pursuant to paragraph 7.4(a)(2) of the

14   Protective Order, on April 9, 2025, Defendants Foresight and Drs. Ash Alizadeh, Maximilian

15   Diehn, and David Kurtz objected to such disclosure to Ms. Knox and Dr. Edwards.

16          AS SUCH, Plaintiffs and Foresight, Dr. Ash Alizadeh, Dr. Maximilian Diehn, Dr. David

17   Kurtz, and The Board of Trustees of the Leland Stanford Junior University, by and through their

18   respective counsel of record, hereby stipulate as follows:

19          IT IS HEREBY STIPULATED, by and between the Parties, through their respective

20   counsel, that Dr. Paul Spellman, Ms. Julie Knox, and Dr. Jeremy Edwards will be permitted to

21   access information designated “Highly Confidential-Trade Secret,” “Highly Confidential-

22   Attorneys’ Eyes Only,” or “Highly Confidential-Source Code” pursuant to paragraph 7.3.1(c),

23   7.3.2(c), or 7.3.3(b) of the Protective Order;

24          IT IS HEREBY STIPULATED, by and between the Parties, through their respective

25   counsel, that access by Dr. Paul Spellman, Ms. Julie Knox and Dr. Jeremy Edwards to information

26   designated “Highly Confidential-Trade Secret,” “Highly Confidential-Attorneys’ Eyes Only,” or

27   “Highly Confidential-Source Code” does not bear on or impact the definition of “Expert” under

28   paragraph 2.2 of the Protective Order (Dkt. 111); and

                                                      2
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 1          IT IS HEREBY STIPULATED, by and between the Parties, through their respective

 2   counsel, that the Parties may object to any future experts proposed by the Parties notwithstanding

 3   the access provided to Dr. Paul Spellman, Julie Knox and Dr. Jeremy Edwards.

 4

 5          PURSUANT TO STIPULATION, IT IS SO ORDERED.

 6              13 2025
     DATED: May ___,                                             ______________________________

 7                                                                   The Honorable Susan van Keulen

 8                                                                     United States Magistrate Judge

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                                                                  CERTAIN PROPOSED EXPERTS
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                                   The Board of Trustees of the Leland Stanford Junior
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 1                                           ATTESTATION

 2          Pursuant to Local Rule 5-1(i)(3), all signatories listed, and on whose behalf the filing is

 3   submitted, concur in the filing’s content and have authorized the filing.

 4
                                                          /s/ Robert J. Gunther, Jr.
 5                                                        Robert J. Gunther, Jr.

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